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COVER LETTER TO CLERK OF COURT


UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

Date: May 26, 2025




Joseph Reyna

Pro Se Plaintiff

Dreams Over Dollars

28251 Boerne Stage Road

Boerne, TX 78006

whitehat@joecattt.com

(956) 202-5580




Clerk of Court

U.S. District Court for the District of Columbia

333 Constitution Avenue NW

Washington, D.C. 20001




Re: FOIA Complaint – Reyna v. U.S. Agency for Global Media

Request to Proceed In Forma Pauperis


Dear Clerk of Court:
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Please find enclosed the following documents for filing a pro se civil complaint under the

Freedom of Information Act (5 U.S.C. § 552):


   1. Complaint for Declaratory and Injunctive Relief



   2. Civil Cover Sheet (JS-44)



   3. Summons in a Civil Action (AO 440)



   4. Motion to Proceed In Forma Pauperis



   5. Declaration in Support of Motion to Proceed In Forma Pauperis



   6. This Cover Letter




I respectfully request the Court accept this case for filing and permit me to proceed in forma

pauperis under 28 U.S.C. § 1915, as I am currently unable to afford the filing fee. I am

housing-insecure due to pending litigation with my former landlord and am receiving SNAP

benefits.


Should the Court require any revisions or additional documentation, I welcome the opportunity

to amend or supplement. I further request that this case be designated as a FOIA matter and

processed with public interest urgency.


A courtesy copy has also been sent to the Clerk’s Office at: dcd_cmecf@dcd.uscourts.gov
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Thank you for your time and assistance.
                                                    Verified by pdfFiller
                                                    05/30/2025




Sincerely,

/s/ Joseph Reyna

Joseph Reyna

Pro Se Plaintiff
